133 F.3d 927
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Pacifico Clarete GONZAGA;  Luzvisminda Abcede Gonzaga, Petitioners,v.IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 97-70369, Aeq-hmh-teh.
    United States Court of Appeals, Ninth Circuit.
    Submitted Jan. 12, 1998.**Jan. 20, 1998.
    
      Before:  BROWNING, KLEINFELD, and THOMAS, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      Pacifico Clarete Gonzaga and Luzvisminda Gonzaga, natives and citizens of the Philippines, petition for review of an order of the Board of Immigration Appeals dismissing their appeal from an immigration judge's decision denying their application pursuant to Section 244(a) of the Immigration and Nationality Act, 8 U.S.C. § 1254(a), for suspension of deportation.  Because the BIA's final order of deportation was entered on March 10, 1997, the transitional rules of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996 ("IIRIRA") apply.  See Kalaw v. INS, No. 97-70106, slip op. 14093, 14098-99 (9th Cir.  Dec. 1, 1997).
    
    
      3
      The BIA determined in its discretion that petitioners failed to demonstrate extreme hardship.  We therefore lack jurisdiction.  See IIRIRA Section 309(c)(4)(E);  Kalaw, slip op. 14093 at 14101-03.
    
    
      4
      PETITION FOR REVIEW DISMISSED.
    
    
      
        **
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.  R.App. P. 34(a);  9th Cir.  R. 34-4
      
      
        *
         This disposition is not appropriate for publication a not be cited to or by the courts of this circuit except as provided by 9th Cir.  R. 36-3
      
    
    